Case: 6:12-cr-00058-GFVT-HAI           Doc #: 359 Filed: 09/12/17          Page: 1 of 8 - Page
                                         ID#: 1040



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )      No. 6:12-CR-58-GFVT-HAI-8
                                              )
 ANTHONY DAMRON,                              )    RECOMMENDED DISPOSITION
                                              )
        Defendant.                            )
                                              )
                                      *** *** *** ***

       On referral from District Judge Van Tatenhove (D.E. 352 at 2), the Court considers

reported violations of supervised release conditions by Defendant Anthony Damron. Judge Van

Tatenhove entered an initial judgment against Defendant on October 15, 2013, on one count of

conspiracy to distribute a quantity of pills containing oxycodone. D.E. 235 at 1. Defendant was

sentenced to fifty-seven months of imprisonment followed by five years of supervised release.

Id. at 2-3. On August 19, 2015, Judge Van Tatenhove granted Defendant’s motion for sentence

reduction pursuant to 18 U.S.C. § 3582(c)(2), and reduced his sentence from fifty-seven months

to forty-six months. D.E. 324. Defendant began his supervised release on April 13, 2016.

                                                I.

       On August 14, 2017, the United States Probation Office (“USPO”) issued the Supervised

Release Violation Report (“the Report”) that initiated this revocation. The Report charges, as

Violation #1, a violation of Special Condition #7 requiring that Defendant “shall not unlawfully

possess . . . a controlled substance.” D.E. 235 at 3. This is a grade C violation. The Report also

charges, as Violation #2, that Defendant committed another federal, state, or local crime by

possessing methamphetamine, which is a violation of 18 U.S.C. § 844(a) and a class E felony.
Case: 6:12-cr-00058-GFVT-HAI           Doc #: 359 Filed: 09/12/17          Page: 2 of 8 - Page
                                         ID#: 1041



This is a grade B violation. The Report specifically alleges that, on July 27, 2017, the USPO

conducted a routine home contact and collected a urine sample. This sample was positive via

laboratory testing for methamphetamine.

                                                 II.

       On August 31, 2017, Defendant appeared before the Court on a summons for an initial

appearance pursuant to Rule 32.1 of the Federal Rules of Criminal Procedure. D.E. 356. The

Court set a final hearing following a knowing, voluntary, and intelligent waiver of the right to a

preliminary hearing. Id. The Court recessed during the initial appearance for the USPO to

administer a urine screen to Defendant, which was negative. The United States made an oral

motion for interim detention and Defendant argued for release. Id. The Court found that

Defendant met his burden under 18 U.S.C. § 3143(a) to justify release and admonished him to

abide by all of his original supervised release conditions while on release. Id. The USPO

collected a sample for laboratory testing on September 1, 2017, and administered an instant test

on September 5, 2017. The Court had not received the results from the urine collected on

September 1, 2017, by the time of the final hearing. Following the hearing, the USPO reported

to the undersigned that the September 1 sample tested negative. The instant urine screen on

September 5, 2017, was negative for any controlled substances.

       At the final hearing on September 6, 2017, Defendant was afforded all rights due under

Rule 32.1 and 18 U.S.C. § 3583.        D.E. 358.       Defendant competently entered a knowing,

voluntary, and intelligent stipulation to Violations #1 and #2. Id. For purposes of Rule 32.1

proceedings, Defendant admitted the factual basis for the violations as described in the Report.

In the Supervised Release context, the Sixth Circuit treats controlled substance use as equivalent

to possession.   See United States v. Crace, 207 F.3d 833, 836 (6th Cir. 2000).            Given

                                                2
Case: 6:12-cr-00058-GFVT-HAI            Doc #: 359 Filed: 09/12/17          Page: 3 of 8 - Page
                                          ID#: 1042



Defendant’s criminal history that includes a previous drug conviction, Violation #2 constitutes

felony conduct in violation of 21 U.S.C. § 844. The United States thus established both

violations under the standard of § 3583(e).

       The parties agreed to a sentence of 30 days to be served intermittently on weekends and a

total supervised release term of four years.

                                                 III.

       The Court has evaluated the entire record, the Report and accompanying documents, and

the sentencing materials from the underlying Judgment in this District. Additionally, the Court

has considered all of the section 3553 factors imported into the section 3583(e) analysis.

       Under section 3583(e)(3), a defendant’s maximum penalty for a supervised release

violation hinges on the gravity of the underlying offense of conviction. Defendant was convicted

of the Class C felony of conspiracy to distribute a quantity of pills containing oxycodone. See 21

U.S.C. §§ 846; 841(b)(1)(C); 18 U.S.C. § 3559(a)(3). Defendant’s conviction carries a twenty-

four-month maximum period of incarceration upon revocation pursuant to 18 U.S.C.

§ 3583(e)(3). Under 18 U.S.C. § 3583(h) and 21 U.S.C. § 841(b)(1)(C), there is no maximum

term of supervised release that may be re-imposed.

       The Policy Statements in Chapter 7 of the Sentencing Guidelines provide advisory

imprisonment ranges for revocation premised on criminal history (at the time of original

sentencing) and the “grade” of the particular violation proven. See United States v. Perez-

Arellano, 212 F. App’x 436, 438-39 (6th Cir. 2007) (“[T]he policy statements found in Chapter

Seven of the United States Sentencing Guidelines . . . ‘are merely advisory’ and need only be

considered by the district court before sentence is imposed.”) (citation omitted). Under section

7B1.1, Defendant’s admitted conduct would qualify as a Grade B violation. Given Defendant’s

                                                 3
Case: 6:12-cr-00058-GFVT-HAI            Doc #: 359 Filed: 09/12/17           Page: 4 of 8 - Page
                                          ID#: 1043



criminal history category of III (the category at the time of the conviction in this District) and a

Grade B violation, Defendant’s Range under the Revocation Table of Chapter 7 is eight to

fourteen months. U.S.S.G. § 7B1.4(a).

       The United States argued for a thirty-day term of imprisonment to be served

intermittently on weekends, with Defendant’s supervised release conditions to apply while he is

not in custody, and a total supervised release term of four years. The government also argued for

increased, random drug testing at the discretion of the UPSO. The government noted that

revocation was mandatory because Defendant possessed a controlled substance and argued for

four additional years of supervised release to protect the public from dangerous drug trafficking.

Regarding the nature and circumstances of the offense and the history and characteristics of

Defendant, the government expressed concern about Defendant’s violent criminal past and the

history of drug use. However, the government noted that Defendant’s drug use history did not

indicate an addiction to methamphetamine and Defendant’s underlying conviction did not

involve methamphetamine. The government also noted that Defendant willingly appeared before

the Court for the initial appearance and the final supervised release violation hearing. The

government stated that, while it recommends a lenient sentence for these violations, if Defendant

appeared before the court again due to drug use, it would recommend revocation at the high end

of, or above, the Guidelines Range.

       Counsel for Defendant agreed with the government and noted that, until these violations,

Defendant had successfully abided by the conditions of his supervised release, remained

cooperative with his probation officer, had a supportive relationship with his wife, and continued

to maintain full-time employment. Counsel emphasized that his employer would welcome him

back if he remained out of custody.

                                                 4
Case: 6:12-cr-00058-GFVT-HAI            Doc #: 359 Filed: 09/12/17         Page: 5 of 8 - Page
                                          ID#: 1044



         Defendant addressed the Court and stated that he is proud of his progress while being on

supervised release. He emphasized his willingness to abide by any increased drug testing

conditions the Court may impose and promised not to “let [the Court] down.”

                                                 IV.

         To determine an appropriate revocation term of imprisonment, the Court has considered

all the statutory factors imported into the section 3583(e) analysis, as well as the Guidelines

Range.

         The Court first considers the nature and circumstances of Defendant’s conviction. See

United States v. Johnson, 640 F.3d 195, 203 (6th Cir. 2011) (explaining that this sentencing

factor focuses upon the original offense rather than the violations of supervised release).

Defendant was involved in a dangerous conspiracy to distribute oxycodone pills. Defendant’s

history indicates that he was prescribed pain medication and became addicted to it, which abuse

led to trafficking.

         The Court next considers Defendant’s history and characteristics, the need to deter

criminal conduct, and the need to protect the public. Defendant’s criminal history reflects

significant violence, including convictions for reckless homicide and assault involving domestic

violence, as well as for drug trafficking.     Incarceration is necessary to protect the public.

However, other than the current violations, Defendant has consistently attempted to abide by the

conditions of his supervised release, including maintaining full-time employment and

cooperating with the USPO. As to opportunities for education and treatment, after Defendant

attended three substance abuse counseling sessions, his substance abuse counselor advised the

USPO that he did not require substance abuse counseling.



                                                5
Case: 6:12-cr-00058-GFVT-HAI             Doc #: 359 Filed: 09/12/17         Page: 6 of 8 - Page
                                           ID#: 1045



       The Guidelines suggest that the primary wrong in the supervised release context is the

violation of the Court’s trust by an offender.       The particular conduct is an important but

secondary issue. See Guidelines 7 Pt. A(3)(b) (“[A]t revocation the court should sanction

primarily the defendant’s breach of trust, while taking into account, to a limited degree, the

seriousness of the underlying violation and the criminal history of the violator.”). The Court

must impose a sentence that is sufficient, but not greater than necessary, to address Defendant’s

breach of trust and the other statutory goals imported into section 3583(e).            His use of

methamphetamine is a significant breach of the Court’s trust given the Court’s previous grant of

leniency when he received an original sentence at the lower end of the Guidelines Range. While

the Court is willing to grant Defendant a lenient sentence again, it will recommend a much

harsher sentence if he violates in the future.

       A thirty-day sentence, to be served intermittently on weekends, is below the Guidelines

Range. Here, the below-Guidelines penalty is justified because Defendant has made significant

progress while on supervised release, shows a commitment to maintaining employment and

continuing to improve himself, and the Court believes he will continue to make progress. See

Johnson, 640 F.3d at 205-06 (explaining that courts must give specific reasons for deviating

from the Guidelines Range and ensure that the extent of the deviation is justified); 18 U.S.C.

§ 3553(c)(2). Additionally, the Court believes that thirty days of intermittent incarceration and

four years of supervised release as recommended by the parties is adequate to deter similar future

conduct, protect the public, and address the breach of the trust that has occurred. For the reasons

discussed above, the Court finds this penalty is sufficient but not greater than necessary to meet

the section 3553(a) factors incorporated into this analysis. See 18 U.S.C. § 3583(e).



                                                 6
Case: 6:12-cr-00058-GFVT-HAI            Doc #: 359 Filed: 09/12/17          Page: 7 of 8 - Page
                                          ID#: 1046



       A court may re-impose supervised release, following revocation, for a maximum period

that usually subtracts any term of incarceration actually imposed due to the violation. See 18

U.S.C. § 3583(b) & (h). Defendant’s conviction does not carry a maximum term of supervised

release due to the nature of the underlying offense.       See 18 U.S.C. § 3583(h); 21 U.S.C.

§ 841(b)(1)(C). Accordingly, and for the reasons stated above, the Court will recommend that

supervised release be re-imposed for four years. The existing conditions afford the USPO the

discretion to increase drug testing as necessary.

       Based on the foregoing, the Court RECOMMENDS:

   1. That Defendant be found guilty of both violations;

   2. Revocation with a term of thirty days of imprisonment, to be served intermittently on

       weekends, commencing at a time to be arranged by the USPO, and beginning on Friday

       evenings and continuing until Sunday evenings; and

   3. A four-year term of supervised release under the same conditions previously imposed,

       with increased, random drug testing at the discretion of the USPO.

       Defendant’s right of allocution under Rule 32.1 is preserved, as reflected in the record.

Any waiver should comport with the Court’s standard waiver form, available from the Clerk.

Absent waiver, the matter will be placed on District Judge Van Tatenhove’s docket upon

submission.

       The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by § 636(b)(1), within fourteen days after being served with a copy of this recommended

disposition, any party may serve and file written objections to any or all portions for

consideration, de novo, by the District Court. The parties have agreed to reduce the period in

                                                    7
Case: 6:12-cr-00058-GFVT-HAI           Doc #: 359 Filed: 09/12/17         Page: 8 of 8 - Page
                                         ID#: 1047



which they may appeal the recommendation from fourteen days to three days. Failure to make

timely objection consistent with the statute and rule may, and normally will, result in waiver of

further appeal to or review by the District Court and Court of Appeals. See Thomas v. Arn, 474

U.S. 140 (1985); United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981).

       This the 12th day of September, 2017.




                                               8
